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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                Orlando Division




                       Plaintiffs,
v.                                                       Case No.




                Defendant.
______________________________________


                      NOTICE OF PENDENCY OF OTHER ACTIONS

         In accordance with Local Rule 1.04(d), I certify that the instant action:

_____ IS               related to pending or closed civil or criminal case(s) previously filed in
                       this Court, or any other Federal or State court, or administrative
                       agency as indicated below:
                       _______________________________________________________
                       _______________________________________________________
                       _______________________________________________________
                       _______________________________________________________


_____ IS NOT           related to any pending or closed civil or criminal case filed with this
                       Court, or any other Federal or State court, or administrative agency.


      I further certify that I will serve a copy of this Notice of Pendency of Other Actions
upon each party no later than fourteen days after appearance of the party.


Dated:



_____________________________
Counsel of Record or Pro Se Party
   [Address and Telephone]
